Case 3:19-cv-00279-JPG-GCS Document 1 Filed 03/07/19 Page 1 of 8 Page ID #1



                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF ILLINOIS


CATHY CANTRELL,                                 )
                                                )
      PLAINTIFF,                                )
                                                )
vs.                                             )      Case Number: 3:19-cv-279
                                                )
THILLENS, INC.                                  )      PLAINTIFF DEMANDS TRIAL
Serve:                                          )              BY JURY
Richard M. Colombik, Registered Agent           )
1000 E. Woodfield Road, Suite 233               )
Schaumburg, IL 60173                            )
                                                )
and                                             )
                                                )
DEMOND A. HUNT, JR.,                            )
Serve:                                          )
50 Lauralee Drive                               )
Cahokia, IL 62206                               )

                                   COMPLAINT
                      (Motor Vehicle Collision-Personal Injury)

                                        COUNT I


      COMES NOW Plaintiff, Cathy Cantrell, and for her cause of action against

Demond A. Hunt, Jr., under Count I hereof, states as follows:

      1. Jurisdiction in this Court is proper pursuant to U.S.Code 28, Section 1332(a)

since complete diversity exists and the amount in controversy exceeds Seventy-Five

Thousand and 00/100 Dollars ($75,000.00).

      2. At all relevant times hereinmentioned, Plaintiff was and is a resident of

Missouri. Defendant, Demond A. Hunt, Jr., was and is a citizen of Illinois and

Defendant Thillens, Inc., was and is a corporation in good standing, incorporated in the




                                            1
Case 3:19-cv-00279-JPG-GCS Document 1 Filed 03/07/19 Page 2 of 8 Page ID #2



state of Illinois. Defendant’s act of negligence occurred in Bond County, Illinois,

therefore jurisdiction is proper in this Court.

       3. On March 14, 2017, Defendant Demond A. Hunt, Jr. was an agent,

representative and employee of Defendant, Thillens, Inc., and was acting within the

course and scope of his employment as a professional driver, when he ran a stop sign

at a high rate of speed and caused the commercial van he was operating to collide with

Plaintiff’s Honda Accord.

       4. That at all times hereinmentioned, Plaintiff was exercising due care and

caution for her own safety.

       5. That currently, and on March 14, 2017, westbound traffic on US Route 40

was required to stop at a stop sign before entering the intersection of US Route 40 and

Millersburg Road, and northbound traffic on Millersburg road had the right-of-way at

said intersection.

       6. On or about March 14, 2017, Plaintiff was operating a 2001 Honda Accord in

a Northbound direction on Millersburg Road where Millersburg Road intersects with

US Route 40 in Bond County, Illinois. At said time and place, Defendant Demond A.

Hunt, Jr., was operating a Nissan 2500 commercial van in a westwardly direction on

US Route 40 where said road intersects with Millersburg Road and Defendant, Demond

A. Hunt, Jr., failed to stop thereby running the stop sign at the intersection of US Route

40 and Millersburg Road, thereby causing the front of the Nissan 2500 commercial van

to collide with the passenger side of Plaintiff’s Honda Accord. Whereby, Plaintiff was

caused to sustain the hereinafter mentioned injuries and damages, all due as a direct

and proximate result of the negligence of Defendants.



                                                  2
Case 3:19-cv-00279-JPG-GCS Document 1 Filed 03/07/19 Page 3 of 8 Page ID #3



       7. That pursuant to the Illinois state highway patrol’s accident investigation and

reconstruction, the information downloaded from the “black box” contained in

Defendant’s Nissan 2500 van, indicates that Defendant, Demond A. Hunt, Jr., was

accelerating at the time his vehicle struck the vehicle driven by Cathy Cantrell and

Defendant, Demond A. Hunt, Jr., did not apply his brakes at any time in the five

seconds prior to the collision with the vehicle driven by Cathy Cantrell.

       8. That Plaintiff’s hereinafter stated injuries and damages were due as a direct

and proximate result of the negligence of Defendant, Demond A. Hunt, Jr., in the

following particulars:

              a) Defendant, Demond A. Hunt, Jr., failed to stop at the stop sign
                 controlling the intersection of Millersburg Road and US Route 40;

              b) Defendant, Demond A. Hunt, Jr., failed to yield the right-of-way to
                 Cathy Cantrell, and

              c) Defendant, Demond A. Hunt, Jr., failed to keep a careful lookout.

       9. At the time of the collision in question, Demond A. Hunt, Jr. was under the

influence and impaired by THC.

       10. As a direct and proximate result of the aforesaid negligence of Defendant,

Demond A. Hunt, Jr., Plaintiff was caused to sustain the following injuries and damages:

concussion, post-concussion syndrome, traumatic brain injury, collapsed lung, massive

violent trauma to her body as a whole, comminuted fractures to ribs 4,5,6 and 7 that

required surgical plating, permanent damage to the cartilage and connective tissue of

her ribs, comminuted fractures of her pelvis and superior and inferior pubic ramis,

fractures to her sacral levels at S1 and S2, neuroforaminal fractures, avulsion fracture of

her iliac crest at the sartorius muscle, right hip labral injury, right knee internal


                                               3
Case 3:19-cv-00279-JPG-GCS Document 1 Filed 03/07/19 Page 4 of 8 Page ID #4



derangement and meniscus tear, fractured right ankle, depression, anxiety, post-

traumatic stress syndrome, traumatic aortic injury, celiac artery injury and occlusion,

spleen injury, internal derangement to her right shoulder, peripheral neuropathy in her

right lower extremity, cervical strain/sprain, lumbar sprain/strain and aggravation of

spondylosis, multiple surgeries to attempt to improve multiple fractures and orthopedic

injuries, and heart catheterization procedure. Plaintiff has incurred reasonable and

necessary medical expenses of approximately $500,000.00 and Plaintiff will incur future

medical expenses and expenses for life care, all of Plaintiff’s injuries are permanent and

progressive. Plaintiff has suffered much pain of body and anguish of mind. Plaintiff has

lost her ability to return to her previous profession and lost her ability to work in general,

thereby losing a large uncalculated sum of earnings, wages and benefits. Plaintiff’s

ability to pursue recreational activities and to enjoy life in general have all be

permanently impaired, lessened and restricted, all to Plaintiff’s damages.

       WHEREFORE, under Count I hereof, Plaintiff prays this Court for judgment

against Defendant, Demond A. Hunt, Jr., in an amount in excess of Seventy-Five

Thousand and 00/100 ($75,000.00), together with her costs herein expended.

                                          COUNT II

       COMES NOW Plaintiff, Cathy Cantrell, and for her cause of action against

Defendant Thillens, Inc., under Count II hereof, states as follows:

       1. Plaintiff incorporates by reference and adoption, all of the allegations, where

relevant, contained in Count I of this Complaint as if repeated herein verbatim.

       2. That at all relevant times hereinmentioned, Defendant Thillens, Inc., was and




                                              4
Case 3:19-cv-00279-JPG-GCS Document 1 Filed 03/07/19 Page 5 of 8 Page ID #5



is a corporation in good standing, incorporated in the state of Illinois and conducting a

majority of its business in Illinois.

       3. On March 14, 2017, Defendant Demond A. Hunt, Jr. was an agent,

representative and employee of Defendant, Thillens, Inc., and was acting within the

course and scope of his employment as a professional driver, when he ran a stop sign

at a high rate of speed and caused the commercial van he was operating to collide with

Plaintiff’s Honda Accord.

       4. That at all times hereinmentioned, Plaintiff was exercising due care and

caution for her own safety.

       5. That currently, and on March 14, 2017, westbound traffic on US Route 40

was required to stop at a stop sign before entering the intersection of US Route 40 and

Millersburg Road, and northbound traffic on Millersburg Road had the right-of-way at

said intersection.

       6. On or about March 14, 2017, Plaintiff was operating a 2001 Honda Accord in

a northbound direction on Millersburg Road where Millersburg Road intersects with US

Route 40 in Bond County, Illinois. At said time and place, Defendant, Demond A. Hunt,

Jr., was operating a Nissan 2500 commercial van in a westwardly direction on US

Route 40 where said road intersects with Millersburg Road and Defendant, Demond A.

Hunt, Jr., failed to stop thereby running the stop sign at the intersection of US Route 40

and Millersburg Road, thereby causing the front of the Nissan 2500 commercial van to

collide with the passenger side of Plaintiff’s Honda Accord. Whereby, Plaintiff was

caused to sustain the hereinafter mentioned injuries and damages, all due as a direct

and proximate result of the negligence of Defendants.



                                             5
Case 3:19-cv-00279-JPG-GCS Document 1 Filed 03/07/19 Page 6 of 8 Page ID #6



       7. That pursuant to the Illinois state highway patrol’s accident investigation and

reconstruction, the information downloaded from the “black box” contained in

defendant’s Nissan 2500 van, indicates that Defendant, Demond A. Hunt, Jr., was

accelerating at the time his vehicle struck the vehicle driven by Cathy Cantrell, and

Defendant, Demond A. Hunt, Jr., did not apply his brakes at any time in the five

seconds prior to the collision with the vehicle driven by Cathy Cantrell.

       8. That Plaintiff’s hereinafter stated injuries and damages were due as a direct

and proximate result of the negligence of Defendant, Thillens, Inc., by and through

Defendant, Demond A. Hunt, Jr., in the following particulars:

              a) Defendant, Thillens, Inc., by and through its agent, representative and
                 employee, Demond A. Hunt, Jr., failed to stop at the stop sign
                 controlling the intersection of US Route 40 and Millersburg Road;

              b) Defendant, Thillens, Inc., by and through its agent, representative, and
                 employee, Demond A. Hunt, Jr., failed to yield the right-of-way to the
                 vehicle occupied by Cathy Cantrell; and

              c) Defendant Thillens, Inc., by and through its agent, representative and
                 employee, Demond A. Hunt, Jr., failed to keep a careful look out.

       9. At the time of the collision in question, Demond A. Hunt, Jr. was under the

influence and impaired by THC.

       10. As a direct and proximate result of the aforesaid negligence of Defendant,

Thillens, Inc., by and through Defendant, Demond A. Hunt, Jr., Plaintiff was caused to

sustain the following injuries and damages: concussion, post-concussion syndrome,

traumatic brain injury, collapsed lung, massive violent trauma to her body as a whole,

comminuted fractures to ribs 4,5,6 and 7 that required surgical plating, permanent

damage to the cartilage and connective tissue of her ribs, comminuted fractures of her

pelvis and superior and inferior pubic ramis, fractures to her sacral levels at S1 and S2,

                                             6
Case 3:19-cv-00279-JPG-GCS Document 1 Filed 03/07/19 Page 7 of 8 Page ID #7



neuroforaminal fractures, avulsion fracture of her iliac crest at the sartorius muscle, right

hip labral injury, right knee internal derangement and meniscus tear, fractured right

ankle, depression, anxiety, post-traumatic stress syndrome, traumatic aortic injury,

celiac artery injury and occlusion, spleen injury, internal derangement to her right

shoulder, peripheral neuropathy in her right lower extremity, cervical strain/sprain,

lumbar sprain/strain and aggravation of spondylosis, multiple surgeries to attempt to

improve multiple fractures and orthopedic injuries, and heart catheterization procedure.

Plaintiff has incurred reasonable and necessary medical expenses of approximately

$500,000.00 and Plaintiff will incur future medical expenses and expenses for life care,

all of Plaintiff’s injuries are permanent and progressive. Plaintiff has suffered much pain

of body and anguish of mind. Plaintiff has lost her ability to return to her previous

profession and lost her ability to work in general, thereby losing a large uncalculated

sum of earnings, wages and benefits. Plaintiff’s ability to pursue recreational activities

and to enjoy life in general have all be permanently impaired, lessened and restricted,

all to Plaintiff’s damages.

       WHEREFORE, under Count II hereof, Plaintiff prays this Court for judgment

against Defendant, Thillens, Inc., in an amount in excess of Seventy-Five Thousand and

00/100 ($75,000.00), together with her costs herein expended.




                                              7
Case 3:19-cv-00279-JPG-GCS Document 1 Filed 03/07/19 Page 8 of 8 Page ID #8



                                  Respectfully submitted,

                                  THE FLOYD LAW FIRM, P.C.

                                  /s/ Mark L. Floyd
                                  Mark L. Floyd, #6217461
                                  8151 Clayton Rd., Suite 202
                                  St. Louis, MO 63117
                                  (314) 863-4114
                                  (314) 863-4150 fax
                                  mark@thefloydlawfirm.com
                                  ATTORNEY FOR PLAINTIFF




                                     8
